                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA


CENTER FOR BIOLOGICAL
DIVERSITY,

                      Plaintiff,

              v.

RYAN ZINKE, in his official capacity as
Secretary of the Interior; and UNITED          Case No. 3:17-cv-00091-SLG
STATES DEPARTMENT OF THE
INTERIOR,

                       Defendant,

STATE OF ALASKA,

                       Defendant-
                       Intervenor,

PACIFIC LEGAL FOUNDATION, et al.,

                       Defendant-
                       Intervenors,

SAFARI CLUB INTERNATIONAL, et
al.,

                       Defendant-
                       Intervenors.


                          ORDER RE MOTIONS TO DISMISS

      Plaintiff Center for Biological Diversity (“CBD”) challenges the constitutionality of

the Congressional Review Act (“CRA”), pursuant to which Congress recently passed

legislation disapproving a Fish and Wildlife Service rule that prohibited certain hunting

and trapping practices on National Wildlife Refuges in Alaska. CBD’s challenge rests




       Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 1 of 27
primarily on allegations that the CRA and the congressional oversight of regulations that

it allows for violate the separation of powers doctrine.

          Before the Court are the following four motions: (1) Defendants Ryan Zinke and

Department of the Interior’s Renewed Motion to Dismiss at Docket 107 1; (2) Defendant-

Intervenors Safari Club International, et al.’s Motion to Dismiss at Docket 110; (3)

Defendant-Intervenors Pacific Legal Foundation, et al.’s Renewed Motion to Dismiss at

Docket 113 2; and (4) Defendant-Intervenor State of Alaska’s Motion to Dismiss at Docket

116. The motions have been extensively briefed. 3 Oral argument was not requested and

was not necessary to the Court’s decision.

                                         BACKGROUND

          On August 5, 2016, the U.S. Fish & Wildlife Service (“FWS”) finalized a rule entitled

“Non-Subsistence Take of Wildlife, and Public Participation and Closure Procedures, on

National Wildlife Refuges in Alaska,” also known as the “Refuges Rule.” 4 The Refuges

Rule restricted the use of predator control methods and prohibited certain hunting and

trapping methods on National Wildlife Refuges in Alaska. 5 FWS is a bureau within the


1
   Federal Defendants filed their first motion to dismiss on June 26, 2017 at Docket 62. After CBD
filed its Amended Complaint on September 1, 2017, Federal Defendants filed the instant renewed
motion to dismiss on October 6, 2017.
2
 Defendant-Intervenors filed their initial proposed motion to dismiss on May 4, 2017 at Docket
27. A memorandum in support of the motion to dismiss was filed the same day at Docket 28.
3
  See Docket 108 (Federal Defendants Mem. in Support); Docket 111 (PLF Mem. in Support);
Docket 114 (Safari Club Mem. in Support); Docket 117 (Alaska Mem. in Support); Docket 119
(CBD Opp.); Docket 123 (Safari Club Reply); Docket 124 (Alaska Reply); Docket 125 (PLF Reply);
Docket 126 (DOI Reply); see also Docket 84 (Amicus Curiae Brief of the States of Wisconsin,
Georgia, Alabama, Arizona, Arkansas, Indiana, Kansas, Louisiana, Missouri, Nebraska, Nevada,
Oklahoma, South Carolina, Texas, and Utah in Support of Defendants).
4
    See 81 Fed. Reg. 52247 (Aug. 5, 2016).
5
    The Refuges Rule defined predator control as “the intention to reduce the population of

Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 2 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 2 of 27
Department of the Interior (“DOI” or “Interior”). 6

         The CRA allows for congressional disapproval of rules promulgated by

administrative agencies. 7 Acting pursuant to the CRA, 5 U.S.C. § 801 et seq., on

February 7, 2017, the House of Representatives introduced H.J. Res. 69 (the “Joint

Resolution”) to disapprove the Refuges Rule. On February 16, 2017, the Joint Resolution

passed the House by a vote of 225 – 193. On March 21, 2017, the Joint Resolution

passed the Senate by a vote of 52 – 47. The Joint Resolution provides:

         Resolved by the Senate and House of Representatives of the United States
         of America in Congress assembled, That Congress disapproves the rule

predators for the benefit of prey species” and prohibited it on National Wildlife Refuges in Alaska
“unless it is determined necessary to meet refuge purposes; is consistent with Federal laws and
policy; and is based on sound science in response to a conservation concern.” 81 Fed. Reg.
52247.
        The Refuges Rule also prohibited the following specific practices on National Wildlife
Refuges in Alaska:

         • Taking black or brown bear cubs or sows with cubs (exception allowed for resident
         hunters to take black bear cubs or sows with cubs under customary and traditional
         use activities at a den site October 15-April 30 in specific game management units
         in accordance with State law);
         • Taking brown bears over bait;
         • Taking of bears using traps or snares;
         • Taking wolves and coyotes during the denning season (May 1-August 9); and
         • Taking bears from an aircraft or on the same day as air travel has occurred. The
         take of wolves or wolverines from an aircraft or on the same day as air travel has
         occurred is already prohibited under current refuge regulations.

81 Fed. Reg. 52247. CBD contends that the Refuges Rule is necessary to prevent these practices
from being utilized pursuant to the policy of “intensive management” implemented by Alaska’s
Board of Game. Docket 104 (Am. Compl.) at 8–9, ¶¶ 30–35.
6
 DOI’s authority to regulate National Wildlife Refuges in Alaska derives from the National Wildlife
Administration Act of 1966 (“Administration Act”), as amended by the National Wildlife Refuge
System Improvement Act of 1997 (“Improvement Act”), 16 U.S.C. §§ 668dd-ee, and the Alaska
National Interest Lands Conservation Act (“ANILCA”), 16 U.S.C. §§ 410hh-3233, 43 U.S.C. §§
1602-1784.
7
    See infra pp. 9–10.




Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 3 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 3 of 27
          submitted by the Department of the Interior relating to ‘‘Non-Subsistence
          Take of Wildlife, and Public Participation and Closure Procedures, on
          National Wildlife Refuges in Alaska’’ (81 Fed. Reg. 52247 (August 5, 2016)),
          and such rule shall have no force or effect. 8

On April 3, 2017, President Trump signed the Joint Resolution into law as Public Law

115-20. 9 On November 9, 2017, FWS formally removed the text of the Refuges Rule

from the Federal Register. 10 Pursuant to the CRA, Public Law 115-20 prevents DOI from

“reissuing” the Refuges Rule “in substantially the same form” or issuing “a new rule that

is the substantially the same, unless the reissued or new rule is specifically authorized by

a law enacted after the date of the joint resolution disapproving the original rule.” 11

          Plaintiff CBD is a non-profit 501(c)(3) organization dedicated to conservation

issues with more than 48,500 members across the United States. 12 On April 20, 2017,

CBD initiated the instant case by filing suit in this Court. 13 On September 1, 2017, CBD

filed its Amended Complaint, which challenges the constitutionality of the Joint Resolution

and the Congressional Review Act and makes a statutory claim under the CRA.


8
    H.J. Res. 69; see Docket 104 at 11, ¶ 41.
9
  The parties refer to both the Joint Resolution and Public Law 115-20. Although CBD refers
almost exclusively to the Joint Resolution, the final enactment was signed into law as Public Law
115-20, and the Federal Defendants and Defendant-Intervenors refer to it as such. The Joint
Resolution and Public Law 115-20 contain identical wording and are effectively the same
legislative action. Therefore, they are essentially interchangeable as used in the pleadings.
However, because Public Law 115-20 is the final legislative action signed by the President, the
Court refers primarily to Public Law 115-20 in this order.
10
   8 Fed. Reg. 52009. CBD maintains that it is challenging this action, despite predominately
focusing its analysis on the actions of Congress. See Docket 119 at 46 n.14.
11
   5 U.S.C. § 801(b)(2). This provision is referred to as the “Reenactment Provision” and is
discussed in more detail below.
12
     Docket 104 at 4, ¶ 12.
13
     Docket 1 (Compl.).


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 4 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 4 of 27
          CBD makes two primary constitutional claims in its Amended Complaint: (1) the

CRA and Public Law 115-20 both violate the Article I requirements of Bicameralism and

Presentment, 14 and (2) the CRA and Public Law 115-20 both violate Article II’s “Take

Care” Clause. 15 CBD also contends that Public Law 115-20 represents an ultra vires

exercise of congressional authority because the CRA exempts regulations related to

hunting and fishing from certain aspects of the law.

          CBD names Ryan Zinke, in his official capacity as Secretary of the United States

Department of the Interior, and the Department of the Interior as Defendants (collectively,

“Federal Defendants”). 16 Pacific Legal Foundation, Alaska Outdoor Council, Big Game

Forever, Kurt Whitehead, and Joe Letarte (collectively, “PLF”) were permitted to intervene

in their capacities as non-profit organizations, hunters, and business owners,

respectively. 17 Safari Club International and the National Rifle Association of America

(collectively, “Safari Club”) were permitted to intervene in their capacities as non-profit

organizations asserting interests in hunting and wildlife. 18 The State of Alaska (“Alaska”)



14
     U.S. Const., art. I, § 7, cl. 2.
15
   U.S. Const., art. II, § 3. CBD also contends that these unconstitutional actions give rise to
violations of the Administrative Procedure Act, § 5 U.S.C. § 706(2). See Docket 104 at 15, ¶ 74.
        Although CBD brings separate constitutional claims against the Joint Resolution passed
pursuant to the CRA and against the CRA itself, the validity of the former claim depends entirely
on the latter. Therefore, the Court evaluates the constitutional claims only as against the CRA.
See infra pp. 16–17.
16
   Although CBD identifies congressional actions as the animating force behind the alleged
constitutional violations, it maintains that its challenges are directed toward DOI’s actions—
including treating the Refuges Rule as if it never took effect, removing it from the Federal Register,
and declining to reissue a similar rule. Docket 119 at 46 n.14.
17
     Docket 19 (PLF’s Mot. to Intervene); Docket 83 (Order Granting Mots. to Intervene).
18
     Docket 29 (Safari Club’s Mot. to Intervene); Docket 83.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 5 of 27
           Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 5 of 27
was permitted to intervene in order to assert its interests in and authority over the

management of federal lands in Alaska. 19

          On October 6, 2017, Federal Defendants filed their Renewed Motion to Dismiss. 20

Federal Defendants’ motion asserts that CBD has failed to establish subject matter

jurisdiction or state a claim upon which relief can be granted. 21 More specifically, Federal

Defendants assert that the Congressional Review Act and Public Law 115-20 are

constitutional, CBD’s constitutional challenge to the Reenactment Provision 22 is not ripe,

and CBD’s statutory claim is precluded by the CRA’s judicial review provision. 23

          Defendant-Intervenors each filed separate motions to dismiss in which they

incorporated the arguments of Federal Defendants’ motion to dismiss and added

additional grounds. 24 Safari Club’s motion expresses support for Federal Defendants’

motion, asserts that CBD lacks standing, and maintains that case law supports upholding

the CRA. 25 PLF’s motion incorporates Federal Defendants’ motion and emphasizes the

argument that the Court lacks subject matter jurisdiction over CBD’s statutory claim

because the CRA prohibits judicial review. 26             Alaska’s motion incorporates Federal



19
     Docket 54 (Alaska’s Mot. to Intervene); Docket 83.
20
     Docket 107.
21
     Docket 108 at 15.
22
     See supra note 11.
23
     Docket 108.
24
     See supra note 3.
25
     Docket 111.
26
     Docket 114.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 6 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 6 of 27
Defendants’ motion, with one exception, and discusses Alaska’s land management

authority. 27

                                       LEGAL STANDARD

          I.     Dismissal Under Rule 12(b)(1)

          A “lack of Article III standing requires dismissal for lack of subject matter jurisdiction

under Federal Rule of Civil Procedure 12(b)(1).” 28 “A Rule 12(b)(1) jurisdictional attack

may be facial or factual.” 29 In this case, Federal Defendants assert a facial challenge to

one aspect of CBD’s claim. 30 “In a facial attack, the challenger asserts that the allegations

contained in a complaint are insufficient on their face to invoke federal jurisdiction.”31

          The Court “resolves a facial attack as it would a motion to dismiss under Rule

12(b)(6): Accepting the plaintiff’s allegations as true and drawing all reasonable

inferences in the plaintiff’s favor, the court determines whether the allegations are

sufficient as a legal matter to invoke the court’s jurisdiction.”32      However, “[t]his is not to




27
  Defendant-Intervenor Alaska incorporates Federal Defendants’ motion with the exception of
Federal Defendants’ assertion that the Refuges Rule was a valid exercise of DOI’s authority,
contained in pp. 5–6 of Federal Defendants’ memorandum at Docket 108. Docket 117 at 2.
Because Alaska’s motion primarily discusses issues beyond the scope of this case, including
Alaska’s right to manage the lands and resources in the state and the extent to which the Refuges
Rule interfered with that right, these issues are not addressed in this order.
28
     Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir. 2011) (emphasis omitted).
29
  Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004) (citing White v. Lee, 227
F.3d 1214, 1242 (9th Cir. 2000)).
30
  Docket 108 at 15–16. Federal Defendants assert that this Court does not have jurisdiction to
consider CBD’s statutory claim.
31
     Safe Air for Everyone, 373 F.3d at 1039.
32
  Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014) (citing Pride v. Correa, 719 F.3d 1130,
1133 (9th Cir. 2013)).


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 7 of 27
           Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 7 of 27
say that plaintiff may rely on a bare legal conclusion to assert injury-in-fact[.]” 33 “[T]he

party invoking federal jurisdiction bears the burden of establishing its existence.” 34

           II.     Dismissal Under Rule 12(b)(6)

           When reviewing a Rule 12(b)(6) motion, a court considers only the pleadings and

documents incorporated into the pleadings by reference, as well as matters on which a

court may take judicial notice. 35         “To survive a motion to dismiss, a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” 36 A claim is plausible on its face “when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.”37         Thus, there must be “more than a sheer possibility that a

defendant has acted unlawfully.” 38 A court “accept[s] factual allegations in the complaint

as true and construe[s] the pleadings in the light most favorable to the nonmoving party.” 39

           III.    Jurisdiction

           CBD asserts that this Court has jurisdiction pursuant to 28 U.S.C. § 1331, because

it raises a claim that arises under federal law, and pursuant to 28 U.S.C. § 1346, as a suit



33
     Maya, 658 F.3d at 1068.
34
     Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 104 (1998).
35
  Metzler Inv. GMBH v. Corinthian Colleges, Inc., 540 F.3d 1049, 1061 (9th Cir. 2008) (citing
Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007)).
36
  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
570 (2007)).
37
     Id. at 678.
38
     Id.
39
     Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008).


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 8 of 27
            Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 8 of 27
against the United States. CBD also maintains that this Court has jurisdiction to review

agency action pursuant the Constitution and the Administrative Procedure Act, 5 U.S.C.

§§ 701–70. 40


                                           DISCUSSION

      A. The Congressional Review Act

          1. Overview

          The CRA is a 1996 law which allows for congressional review of executive agency

action. The CRA provides that “[b]efore a rule can take effect, the Federal agency

promulgating such rule shall submit to each House of the Congress and to the Comptroller

General a report” that includes “a copy of the rule,” “a concise general statement relating

to the rule,” and “the proposed effective date of the rule.”41 Congress then has a set

period of time during which it can enact a joint resolution disapproving the rule. 42 5 U.S.C.

§801(d)(1) provides:

          [I]n the case of any rule for which a report was submitted in accordance with
          subsection (a)(1)(A) during the period beginning on the date occurring—

                 (A) in the case of the Senate, 60 session days, or

                 (B) in the case of the House of Representatives, 60 legislative days,

          before the date the Congress adjourns a session of Congress through the
          date on which the same or succeeding Congress first convenes its next
          session, section 802 shall apply to such rule in the succeeding session of
          Congress. 43

40
     Docket 104 at 3, ¶ 8–9.
41
     5 U.S.C. § 801(a)(1)(A).
42
     See 5 U.S.C. § 802 (describing the procedures for passing a joint resolution).
43
  Section 801(d)(2)(A) allows for the § 802 review of rules issued during the latter stages of an
outgoing Congress. It was utilized in this instance to pass Public Law 115-20. Section

Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 9 of 27
           Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 9 of 27
If a joint resolution is passed by both houses of Congress within the applicable time period

and according to the proper procedures, the joint resolution becomes law once signed by

the President. 44 Once that occurs, the CRA dictates that the agency rule “shall not take

effect” (the “Disapproval Provision”). 45

          Furthermore, the CRA provides that the invalidated rule “may not be reissued in

substantially the same form” and “a new rule that is substantially the same as such a rule

may not be issued” (the “Reenactment Provision”). 46 However, reenactment of the same

or similar rule is permitted if “the reissued or new rule is specifically authorized by a law

enacted after the date of the joint resolution disapproving the original rule.” 47




801(d)(2)(A) provides:

          In applying section 802 for purposes of such additional review, a rule described
          under paragraph (1) shall be treated as though–
              (i) such rule were published in the Federal Register (as a rule that shall take
              effect) on–
                   (I) in the case of the Senate, the 15th session day, or
                   (II) in the case of the House of Representatives, the 15th legislative day,
                   after the succeeding session of Congress first convenes; and
              (ii) a report on such rule were submitted to Congress under subsection (a)(1)
              on such date.

Other provisions of the CRA, not relevant here, provide for a different timeline. 5 U.S.C. §
801(a)(3)–(4).
44
  As pointed out by the States in their amicus curiae brief, “[a] joint resolution, once signed by the
President, is every bit as much of a law as a bill similarly signed.” Docket 84 at 10 (quoting United
States v, Powell, 761 F.2d 1227, 1235 (8th Cir. 1985)); compare U.S. Const. art. I, § 7, cl. 2 with
U.S. Const. art. I, § 7, cl. 3 (describing that both bills and resolutions require passage by both
houses of Congress and approval of the President).
45
     5 U.S.C. § 801(b)(1).
46
     5 U.S.C. § 801(b)(2).
47
     5 U.S.C. § 801(b)(2).


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 10 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 10 of 27
          2. CBD’s Challenge

          CBD appears to separately challenge the Disapproval Provision and the

Reenactment Provision of the CRA. As to the former, CBD contends that the Disapproval

Provision unconstitutionally allows Congress to alter DOI’s authority without using

bicameralism and presentment to amend the underlying statutes that give DOI its

authority over National Wildlife Refuges in Alaska. 48 CBD also asserts that “even if the

CRA and/or the Joint Resolution’s declarations that a disapproved rule shall have no

effect could be found constitutional, the CRA’s prohibition on the issuance of a future rule

in ‘substantially the same form’” (the Reenactment Provision) violates the separation of

powers doctrine by “creat[ing] a large and unconstitutional shadow effect that undermines

Interior’s rulemaking authority.” 49

      B. Standing

          Article III standing requires that a plaintiff must have “(1) suffered an injury in fact,

(2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely

to be redressed by a favorable judicial decision.” 50 To establish injury in fact, plaintiffs

must establish that they suffered “an invasion of a legally protected interest” that is

“concrete and particularized” and “actual or imminent, not conjectural or hypothetical.” 51

          Here, CBD challenges two separate parts of the CRA. CBD must have standing




48
     Docket 104 at 12, ¶¶ 50–54.
49
     Docket 104 at 15, ¶ 72.
50
     Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citations omitted).
51
     Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (quotations and citations omitted).


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 11 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 11 of 27
for each claim. 52

          1. Disapproval Provision

          CBD’s Amended Complaint alleges that Public Law 115-20’s disapproval of the

Refuges Rule will cause its members the following harm:

          Members of the Center seek out opportunities to study, observe and
          photograph wildlife (as well as their tracks and other signs) in national
          wildlife refuges in Alaska, including wolves, grizzly bears and black bears.
          Because of the Joint Resolution and the CRA, aggressive predator control
          practices authorized by Alaska’s Board of Game are no longer categorically
          prohibited and thus might now occur on Alaska refuges. Such practices
          would lead to fewer predators and reduced opportunities to encounter and
          otherwise enjoy such wildlife on Alaska refuges. This, in turn, threatens to
          injure the Center and its members’ aesthetic, conservation, recreational,
          scientific, educational and wildlife preservation interests in observing and
          appreciating these animals in the refuges. 53

At the motion to dismiss stage, “general factual allegations of injury resulting from the

defendant’s conduct may suffice, for on a motion to dismiss [the court] presume[s] that

general allegations embrace those specific facts that are necessary to support the

claim.” 54 CBD has adequately alleged injury to its members resulting from the disapproval

of the Refuges Rule. 55 The other parties do not appear to directly contest CBD’s standing

to challenge the Disapproval Provision. 56


52
  See DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) (holding plaintiff must have
standing for each claim that it brings) (citation omitted).
53
     Docket 104 at 4–5, ¶ 16.
54
  Lujan, 504 U.S. at 561 (internal quotations omitted) (citing Lujan v. Nat’l Wildlife Federation,
497 U.S. 871, 889 (1990)).
55
   Id. at 562–63 (“[T]he desire to use or observe an animal species, even for purely esthetic
purposes, is undeniably a cognizable interest for purpose of standing.”); see also Ctr. For
Biological Diversity v. Kempthorne, 588 F.3d 701, 708 (9th Cir. 2009) (recognizing standing where
plaintiffs’ interest in observing a species or its habitat would be harmed by agency action).
56
     Docket 111 at 8 (Safari Club states that “the nullified Refuges rule theoretically harms CBD’s

Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 12 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 12 of 27
         2. Reenactment Provision

         Federal Defendants and Defendant-Intervenors Safari Club contest CBD’s

standing to challenge the Reenactment Provision of the CRA. 57                           While Federal

Defendants emphasize the lack of “ripeness,” both Federal Defendants and Safari Club

maintain that CBD has not identified a redressable injury stemming from the Reenactment

Provision, in large part because of the speculative, non-imminent nature of any potential

harm. 58

         Federal Defendants contend Plaintiffs lack standing because “Plaintiff has not

alleged that the Department of the Interior has any intent to reissue the Refuges Rule (or

any substantially similar rule) in the future and that 5 U.S.C. § 801(b)(2) is what stands in

its way—Plaintiff only speculates that the Department of the Interior might be prevented



alleged interest in enjoying the wildlife affected by the State-authorized hunting and
management methods.”).
57
     See Docket 108 at 22 n.3; Docket 111 at 6–10.
58
   Federal Defendants recognize that “as a practical matter, ‘[t]he constitutional component of the
ripeness inquiry is often treated under the rubric of standing.’” Docket 108 at 25 n. 7 (quoting
Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1138 (9th Cir. 2000) (“[I]n many
cases, ripeness coincides squarely with standing’s injury in fact prong.”)). Except for the
prudential component of ripeness, the question of a claim’s ripeness is otherwise whether the
plaintiff has standing to bring suit. Nat'l Treasury Employees Union v. United States, 101 F.3d
1423, 1427–28 (D.C. Cir. 1996) (“Ripeness, while often spoken of as a justiciability doctrine
distinct from standing, in fact shares the constitutional requirement of standing that an injury in
fact be certainly impending. It is only the prudential aspect of ripeness . . . that extends beyond
standing’s constitutional core.” (citing Duke Power Co. v. Carolina Envtl. Study Grp. Inc., 438 U.S.
59, 81–82 (U.S. 1978)) (internal citations omitted)). Moreover, “[p]rudential considerations of
ripeness are discretionary.” Thomas, 220 F.3d at 1142 (9th Cir. 2000); see also Lexmark Intern.,
Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1386 (2014) (“[The request to decline to
adjudicate the case on prudential grounds] is in some tension with our recent reaffirmation of the
principle that ‘a federal court’s obligation to hear and decide’ cases within its jurisdiction ‘is virtually
unflagging.’”) (quotation omitted) (quoting Sprint Commc’ns, Inc. v. Jacobs, 134 S. Ct. 584, 591
(2013)). Therefore, the Court declines to dismiss CBD’s claims on the basis of lack of ripeness,
but instead evaluates CBD’s standing to bring its claim regarding the Reenactment Provision.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 13 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 13 of 27
from doing so at some future date.”59             Similarly, Safari Club asserts that “[f]or the

reenactment prohibition to cause harm to CBD’s alleged interests, it would have to be

likely that Interior would, but for the prohibition, attempt to enact such a regulation.”60

Safari Club maintains that because DOI “likely would not reenact a regulation that the

President rejected by signing the Joint Resolution,” the Reenactment Provision does not

give rise to a redressable injury. 61

          In order to establish Article III standing, a plaintiff must show that it has “suffered

an ‘injury in fact’—an invasion of a legally protected interest which is (a) concrete and

particularized, and (b) actual or imminent, not conjectural or hypothetical.” 62 Here, CBD’s

challenge to the Reenactment Provision rests on its assertion that

          [b]ecause Congress has not amended any of Interior’s authorities and
          obligations with regard to managing the National Wildlife Refuge System,
          by barring any future rule in “substantially the same form” as a disapproved
          rule, the CRA, alone or in conjunction with the Joint Resolution,
          unconstitutionally impinges upon the authorities and obligations of an
          Executive Branch agency to “take Care” that the laws be “faithfully
          executed.”63

This assertion does not adequately allege an actual or imminent injury to CBD—it alleges

only a hypothetical impingement. However, “the Art. III requirements of standing are not

satisfied by the abstract injury in nonobservance of the Constitution asserted by




59
     Docket 108 at 25.
60
     Docket 111 at 8.
61
     Docket 111 at 9.
62
     Lujan, 504 U.S. at 560 (internal quotations and citations omitted).
63
     Docket 104 at 14–15, ¶ 71.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 14 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 14 of 27
citizens.” 64 It is the Disapproval Provision—pursuant to which Congress passed Public

Law 115-20—and not the Reenactment Provision—that is the reason why the Refuges

Rule is not in effect. Therefore, the Disapproval Provision—and not the Reenactment

Provision—is the source of CBD’s alleged injury. Any injury caused by DOI’s inability to

promulgate a substantially similar rule, in the absence of any assertion that DOI would

otherwise do so, is too speculative to constitute a concrete or imminent injury and is

insufficient to confer Article III standing.

        CBD also contends that “the prohibition on a future rule in ‘substantially the same

form’ makes it difficult, if not impossible, for Interior to carry out its statutory obligations,

as Interior cannot reasonably discern what Congressional mandates still apply, or how,

going forward, it can manage the National Wildlife Refuge System in Alaska consistent

with those mandates.” 65         CBD provides little support for the assertion that Federal

Defendants’ actions will preclude DOI from carrying out its statutory duties, except to

suggest that Congress’s disapproval of the Refuges Rule somehow renders DOI

uncertain as to its remaining authority. These unspecified and speculative allegations do

not constitute a concrete or imminent injury.

        Even if CBD could establish an injury-in-fact with respect to the Reenactment

Provision, CBD has not alleged how invalidating that provision would redress such injury.




64
  See Valley Forge Christian Coll. v. Americans United for Separation of Church & State, Inc.,
454 U.S. 464, 482 (1982) (quotations and alterations omitted).
65
  Docket 104 at 15. CBD adds in its reply that “[b]ecause Interior cannot know the bounds of its
lawful authority, Interior will not issue any new similar rule to protect wildlife in the national wildlife
refuges consistent with its overarching statutory mandates, unless and until the Court resolves
the Center’s claim.” Docket 119 at 52.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 15 of 27
        Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 15 of 27
For if the Disapproval Provision is valid, the Refuges Rule would remain without force and

effect, having been disapproved through Public Law 115-20 pursuant that valid statutory

provision. Without a stated intention by DOI to reinstate the same or substantially similar

rule, the invalidation of the Reenactment Provision would not redress CBD’s alleged

injury. 66 CBD maintains that because it seeks reinstatement of the Refuges Rule, its

alleged injury resulting from the Reenactment Provision is redressable. 67 But although

reinstatement might occur if the Disapproval Provision were invalidated, reinstatement is

not plausible if only the Reenactment Provision were invalidated. Therefore, CBD has

not established a redressable injury and lacks Article III standing to challenge to the

Reenactment Provision.

      C. Joint Resolution and the CRA

          The Court turns to the constitutionality of the Disapproval Provision of the CRA

and the Joint Resolution enacted pursuant to it. In its Amended Complaint, CBD makes

separate challenges to the Joint Resolution and the CRA. However, the bases for the

claims are substantively identical. 68 CBD challenges both the Joint Resolution and the

CRA on the basis that they violate the separation of powers doctrine because, through

them, Congress restricted DOI’s authority without amending the underlying statutes that

grant DOI its authority to manage National Wildlife Refuges in Alaska. 69 CBD alleges that


66
     See Docket 111 at 10.
67
     Docket 119 at 49–50.
68
  In some instances, CBD’s second claim repeats sections of its first claim verbatim, merely
replacing references to the Joint Resolution with references to the CRA. Compare Docket 1 at
13, ¶ 55 with Docket 1 at 15, ¶ 73; compare Docket 1 at 13, ¶ 57 with Docket 1 at 15, ¶ 74.
69
     Docket 104 at 13, ¶ 53; Docket 104 at 14, ¶ 69.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 16 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 16 of 27
to the extent the Joint Resolution and the CRA were the bases for congressional

disapproval of the Refuges Rule, both were “contrary to law in violation of . . . Interior’s

obligation to ‘take Care’ that the laws it is charged with administering be ‘faithfully

executed.’”70 Thus, while CBD purports to make independent claims against both the

Joint Resolution and the CRA, both claims rest entirely on the purported

unconstitutionality of the CRA. If the Disapproval Provision of the CRA is constitutional,

then the Joint Resolution was a valid exercise of congressional authority under the CRA;

if the Disapproval Provision of the CRA represents an unconstitutional exercise of power,

then the Joint Resolution was passed pursuant to an unconstitutional statute and is thus

invalid.     Because the constitutionality of the Joint Resolution is determined by the

constitutionality of the CRA, the claims will be considered together in this order.

Accordingly, the Court will evaluate CBD’s first two claims in its Amended Complaint as

a single challenge to the constitutionality of the Disapproval Provision of the CRA

(“Constitutional Claim”). 71

      D. Constitutional Claims to the Disapproval of the Refuges Rule

          Pursuant to the requirements of the CRA, Public Law 115-20 was passed by both

houses of Congress and signed by the President. However, CBD asserts that Public Law

115-20 violates the Constitution in two respects: it lacks bicameralism and presentment,

and it violates the “Take Care” Clause.




70
     Docket 104 at 13, ¶ 57; Docket 104 at 15, ¶ 74.
71
  CBD’s third claim, which challenges the Joint Resolution as an ultra vires action beyond the
permissible scope of the CRA, will be referred to as the “Statutory Claim.” The Court will also
address CBD’s claims regarding the APA as part of the section discussing the Statutory Claims.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 17 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 17 of 27
          1. Bicameralism and Presentment

          Article I, Section 7 of the Constitution states that “[e]very Bill which shall have

passed the House of Representatives and the Senate, shall, before it become a Law, be

presented to the President of the United States; If he approve he shall sign it.” 72

Therefore, a bill must have been passed by both houses of Congress and signed by the

President in order to become law. The former requirement is known as bicameralism and

the latter is known as presentment.

          Here, there is no contention that the CRA and Public Law 115-20 were not both

passed in accordance with the constitutional mandates of bicameralism or presentment.

However, CBD asserts that “[t]o lawfully constrain or otherwise alter Interior’s authority

under these statutes, Congress must amend these laws using the constitutionally-

mandated process of bicameralism and presentment.” 73 Because Public Law 115-20

limits DOI’s rulemaking authority but Congress did not specifically amend the underlying

sources of that authority, CBD maintains that a constitutional violation has occurred.

Federal Defendants respond that joint resolutions passed pursuant to the CRA are

consistent with the constitutional requirements of bicameralism and presentment. 74

          CBD cites to INS v. Chadha as support for its assertion that for Congress to alter

DOI’s authority pursuant to the CRA, it must first have “amended through bicameralism

and presentment ANILCA, the Administration Act, the Improvement Act, or any other law




72
     U.S. Const., art. I, § 7, cl. 2.
73
     Docket 104 at 12, ¶ 52.
74
     Docket 108 at 17.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 18 of 27
           Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 18 of 27
which provided Interior the rulemaking authorities and mandates executed via the

Refuges Rule.”75 CBD does not explain how Chadha supports its position. In Chadha,

the Supreme Court struck down the House of Representatives’ practice of using a

“legislative veto,” in which the House of Representatives would unilaterally override a

decision of the executive branch to suspend an individual’s deportation. 76 To carry out

its legislative veto, the House passed a resolution that purported to deport an individual

and “was not submitted to the Senate or presented to the President for his action.” 77 The

Supreme Court held that “[t]o accomplish what has been attempted by one House of

Congress in this case requires action in conformity with the express procedures of the

Constitution's prescription for legislative action: passage by a majority of both Houses

and presentment to the President.”78

          Here, Public Law 115-20 was passed by both the House and Senate and submitted

to the President for approval, as required by the CRA—which was also passed by both

houses of Congress and signed into law by the President. 79 Thus, the requirements of

bicameralism and presentment are met and CBD’s separation of powers concerns fail to

state a plausible claim for relief.


75
     Docket 104 at 14, ¶ 69.
76
   462 U.S. 919, 924–925 (1983). “Pursuant to the § 244(c)(1) of the [Immigration and Nationality]
Act, 8 U.S.C. § 1254(c)(1), the immigration judge suspended [Chadha’s] deportation and a report
of the suspension was transmitted to Congress. . . . Once the Attorney General’s recommendation
for suspension of Chadha’s deportation was conveyed to Congress, Congress had the power . .
. to veto the Attorney General’s determination that Chadha should not be deported.” Id.
77
  Id. at 927–28 (1983). Deportation proceedings were then reopened, and “Chadha was ordered
deported pursuant to the House action.” Id. at 928.
78
     Id. at 958.
79
     See Docket 104 at 11, ¶ 41; see also 5 U.S.C. § 801 et seq.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 19 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 19 of 27
          2. “Take Care” Clause

          Article II, Section 3 of the Constitution provides that “[the President] shall take Care

that the Laws be faithfully executed” (the “Take Care Clause”). The Supreme Court has

held that “[t]he duty of the President to see that the laws be executed is a duty that does

not go beyond the laws or require him to achieve more than Congress sees fit to leave

within his power.” 80

          Here, CBD contends that

          [b]ecause Congress has not amended any of Interior’s authorities and
          obligations with regard to managing the National Wildlife Refuge System,
          the CRA, alone or in conjunction with the Joint Resolution, in declaring that
          the Refuges Rule “shall not take effect (or continue),” unconstitutionally
          impinges upon the authorities and obligations of an Executive Branch
          agency to “take Care” that the laws be “faithfully executed.”81

CBD reiterates its assertion that Congress must amend DOI’s underlying statutory

authority before it can disapprove a regulation such as the Refuges Rule, but does not

provide persuasive authority to support that assertion. Federal Defendants respond that

“Plaintiff’s citations to the Take Care Clause should not be construed as adding anything

meaningful to its existing constitutional challenges because the Clause does not provide

an independent cause of action in this case.”82

          The authority of an executive agency comes from Congress and is subject to

modification by Congress. 83 CBD appears to assert that whenever Congress delegates


80
  Bowsher v. Synar, 478 U.S. 714, 762 (1986) (quoting Myers v. United States, 272 U.S. 52, 85
(1926) (Holmes, J., dissenting)).
81
     Docket 104 at 14, ¶ 70.
82
     Docket 108 at 23.
83
  See Food & Drug Admin. v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 125 (U.S. 2000)
(An executive agency “may not exercise its authority ‘in a manner that is inconsistent with the

Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 20 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 20 of 27
authority to an executive agency, it cannot alter or restrict that authority unless it first

specifically amends the statutes originally granting that authority. CBD does not provide

authority for this assertion, nor does the Court find a basis for it. 84

       By framing its argument as relying on the Take Care Clause, CBD appears to



administrative structure that Congress enacted into law.’”).
84
   CBD repeatedly asserts the necessity of Congress’ amending the underlying statutes—
referencing ANILCA, the Administrative Act, and the Improvement Act—in order to lawfully restrict
an agency’s rulemaking authority in the manner allowed by the CRA. Docket 104 at 12, ¶¶ 52–
54; Docket 119 at 26–28. However, CBD provides no authority in its Amended Complaint or in its
briefing to support this assertion except for citations to art. 1, § 7 of the Constitution and INS v.
Chadha, neither of which articulates a requirement that Congress cannot restrict an agency’s
rulemaking authority unless it also amends the underlying statute through which Congress
granted that agency its authority in the first place. Federal Defendants respond that “there is
simply no such requirement—constitutional or otherwise—that Congress take some clerical
action to formally amend or repeal an older law (or regulation) before enacting a new inconsistent
law”; Federal Defendants maintain that “even if there were such a requirement, Congress did
amend the older statutes that led to the issuance of the Refuges Rule by declaring that,
notwithstanding those prior statutes, the Refuges Rule shall have no force and effect.” Docket
108 at 19–20. In CBD’s reply, it characterizes Federal Defendants’ response as an assertion that
Public Law 115-20 constituted an “implied repeal” of DOI’s statutory authority and reiterates its
contention that bicameralism and presentment are required for Congress to withdraw delegated
authority from an agency. Docket 119 at 22, 27–28. However, CBD acknowledges that there is
no direct conflict between Public Law 115-20 and the statutes through which DOI derives its
authority to regulate National Wildlife Refuges in Alaska, thus making it even less clear why repeal
or amendment of those statutes is necessary. See Docket 119 at 22 (stating “there is no conflict
at all” between the Joint Resolution and either ANILCA, the Administration Act, or the
Improvement Act). To the extent that there is inconsistency, Federal Defendants maintain that
“Courts routinely apply newer statutory language at the expense of the old without suggesting
that this inconsistency is, in itself, of any constitutional moment.” Docket 108 at 20 (citing Hellon
& Assocs., Inc. v. Phoenix Resort Corp., 958 F.2d 295, 297 (9th Cir. 1992) (“[T]o the extent that
statutes can be harmonized, they should be, but in case of an irreconcilable inconsistency
between them the later and more specific statute usually controls the earlier and more general
one.”)). Furthermore, in light of the examples identified by PLF in which Congress directed agency
action without amending the underlying statutes, CBD’s assertions appear misplaced. See
Friends of Animals v. Jewell, 824 F.3d 1033, 1045 (D.C. Cir. 2016) (upholding legislation that
required FWS to reissue regulation previously struck down under the Endangered Species Act
despite not amending the ESA itself); Alliance for the Wild Rockies v. Salazar, 672 F.3d 1170,
1174 (9th Cir. 2012) (holding that where “Congress has directed the agency to issue [a] rule
without regard to any other provision of statute or regulation . . . Congress has amended the law”
(quotations omitted)). Ultimately, CBD does not provide persuasive authority to support its claim
that Public Law 115-20 is invalid because Congress failed to amend the underlying statutory
provisions.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 21 of 27
       Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 21 of 27
argue that if DOI abides by Public Law 115-20’s express disapproval of the Refuges Rule,

then DOI will violate the duty placed upon it by the Constitution to faithfully execute the

laws of the United States, as enacted by Congress. 85 This argument seems to require

selectively defining “the laws of the United States” as referred to in the Take Care Clause

to encompass the statutes granting DOI its authority over National Wildlife Refuges in

Alaska but not Public Law 115-20, validly enacted pursuant to the CRA. Furthermore,

given that the CRA is itself a law passed by Congress pursuant to the mechanisms

outlined in the Constitution, CBD does not adequately explain how the Take Care Clause

mandates that the executive branch should retain authority that Congress, with

Presidential approval, withdrew from it through Public Law 115-20. Consequently, CBD’s

invocations of the Take Care Clause do not adequately state a claim for relief as to either

the Joint Resolution or the Disapproval Provision of the CRA.

        In light of the foregoing, the Court finds that even construing all the facts in favor

of CBD, CBD’s constitutional claims fail to adequately allege a plausible basis for relief.

     E. Statutory Claims

        1. Administrative Procedure Act

        CBD contends in the Amended Complaint that “[t]o the extent Interior has relied

upon the Joint Resolution to revoke, refuse to implement, or otherwise nullify the Refuges




85
  Federal Defendants assert that the Take Care Clause, based on its plain language, only applies
to the President and not the executive agencies. Docket 108 at 15–17. CBD counters that “the
Supreme Court has repeatedly held that the Clause applies to executive officers and other
subordinates of the President.” Docket 119 at 31 n.7 (citing Printz v. United States, 521 U.S. 898,
922 (1997)). Even if taking the latter view, CBD has failed to state a claim against DOI on the
basis of the Take Care Clause.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 22 of 27
        Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 22 of 27
Rule, that decision is contrary to law in violation of the APA,” citing 5 U.S.C. § 706(2). 86

That provision of the APA requires that a court “hold unlawful and set aside agency

actions, findings, and conclusions” if they are problematic for a specific set of reasons,

including being “contrary to a constitutional right, power, privilege, or immunity.” 87

Because CBD does not identify a particular basis for finding the CRA invalid under the

APA, nor provide any specific support for its contention that an APA violation has

occurred, the Court presumes that CBD’s APA claim is relies on the alleged

unconstitutionality of the CRA and Public Law 115-20.                 Therefore, unless CBD

establishes a constitutional violation, it cannot state an independent claim under the APA.

In light of the previous analysis of CBD’s constitutional claims, CBD fails to state a

plausible claim for relief under the APA.

          2. Ultra Vires Revocation

          In its second statutory argument, CBD contends that because the Refuges Rule

fell under § 808 of the CRA, which exempts rules relating to hunting and fishing from

certain provisions of that act, it was thus immune from congressional review and should

have remained in effect. 88 Although Federal Defendants and Defendant-Intervenors PLF

challenge the Court’s subject matter jurisdiction over this claim, the Court finds that it has

jurisdiction and that CBD has failed to state a claim on the merits. 89


86
     Docket 104 at 13, ¶ 57.
87
     5 U.S.C. § 706(2)(B).
88
   CBD maintains that it is not challenging congressional action, although the challenged action—
DOI’s “treat[ment] [of] the Refuges Rule as though such rule had never taken effect” and “decision
to discard the Refuges Rule”—were both directly prompted by Congress. Docket 119 at 46 n.14;
cf. Docket 108 at 40.
89
     Federal Defendants and Defendant-Intervenor PLF contend that this Court lacks subject matter

Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 23 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 23 of 27
       5 U.S.C. § 808 provides that “any rule that establishes, modifies, opens, closes, or




jurisdiction over the claim for two reasons. First, PLF characterizes CBD’s statutory claim as an
assertion “that Congress misapplied its internal rules in disapproving the Refuges Rule under the
Congressional Review Act,” which is not cognizable in this Court because “the Rules Clause of
the Constitution forbids courts from second-guessing Congress’ application of its internal rules
unless those rules violate some independent constitutional constraint.” Docket 114 at 11–12
(citing Mester Mfg. Co. v. I.N.S., 879 F.2d 561, 571 (9th Cir. 1989)). However, CBD’s challenge
is to agency action taken pursuant to an official act of Congress, and not the application of an
internal rule of Congress.
         Second, PLF and Federal Defendants assert that the CRA itself bars this Court from
reviewing CBD’s claim. Docket 114 at 12. 5 U.S.C. § 805 provides that “[n]o determination,
finding, action, or omission under this chapter shall be subject to judicial review.” However, CBD
is not seeking review of action taken under the CRA. Instead, CBD is claiming that DOI, at the
behest of Congress, acted ultra vires in taking action beyond the authority provided by the CRA.
Therefore, § 805’s restriction on judicial review does not apply. The cases discussed by Federal
Defendants do not persuade the Court otherwise. See Docket 108 at 29. Montanans For Multiple
Use v. Barbouletos addressed the Forest Service’s alleged failure to submit certain rules for
congressional review pursuant to 5 U.S.C. § 801(a)(1)(A). 568 F.3d 225, 229 (D.C. Cir. 2009).
The court held that “[t]he language of § 805 is unequivocal and precludes review of this claim.”
Id. However, the same does not appear to be true here, because unlike in Barbouletos—in which
the plaintiffs disputed the agency’s compliance with the procedures of the CRA—CBD challenges
the fundamental authority of the agency to take the action at issue. With regard to Via Christi
Reg'l Med. Ctr., Inc. v. Leavitt, Federal Defendants offer only a footnote from a case from the
Tenth Circuit, whose authority does not bind this court. 509 F.3d 1259, 1271 n.11 (10th Cir. 2007).
Furthermore, Federal Defendants acknowledge that other courts have recognized challenges to
agency non-compliance with the CRA. Docket 108 at 29 (citing United States v. S. Indiana Gas
& Elec. Co., 2002 WL 31427523 (S.D. Ind. Oct. 24, 2002)).
         Federal Defendants further assert that CBD would only be able to establish this Court’s
subject matter jurisdiction through the Leedom v. Kyne exception, which permits judicial review of
a claim that an agency acted ultra vires only if the agency acts “in excess of its delegated powers
and contrary to a specific prohibition” in its organic statute and “deprived the professional
employees of a ‘right’ assured to them by Congress.” Leedom v. Kyne, 358 U.S. 184, 188–89
(1958); see Docket 108 at 30. However, notwithstanding Federal Defendants’ speculation, CBD
did not make any assertions with regard to this exception. Therefore, the Court need not analyze
and decide whether CBD has challenged an agency decision that qualifies for the exception. As
described above, CBD has standing to challenge the disapproval of the Refuges Rule, and CBD’s
statutory claim alleges that this disapproval was executed in violation of the CRA. As a claim that
arises under a federal law, and in light of the Court’s rejection of PLF’s and Federal Defendants’
arguments to the contrary, this Court has jurisdiction to consider the claim. Regardless, the Court
determines that CBD’s interpretation of § 808 is incorrect and therefore does not state a plausible
claim for relief.
         Finally, to the extent that CBD challenges the CRA’s procedures, the amici States assert
that such “challenge to the CRA’s procedures would be a non-justiciable political question.”
Docket 84 at 12 (citing Consejo de Desarrollo Economico de Mexicali, A.C. v. United States, 482
F.3d 1157, 1171–72 (9th Cir. 2007)). However, CBD’s claims do not appear or purport to be
challenging Congress’s compliance with its own rules.

Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 24 of 27
       Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 24 of 27
conducts a regulatory program for a commercial, recreational, or subsistence activity

related to hunting, fishing, or camping . . . shall take effect at such time as the Federal

agency promulgating the rule determines.” CBD asserts that this provision of the statute

indicates that “the CRA does not permit Congressional disapproval of regulations covered

by Section 808 in a new session of Congress,” and therefore the Refuges Rule could not

have been properly disapproved under the CRA because “it is plainly a ‘rule that

establishes, modifies, opens, closes, or conducts a regulatory program for a commercial,

recreational, or subsistence activity related to hunting, fishing, or camping’” and therefore

falls under § 808. 90

          Rules not falling within § 808 take effect pursuant to the timeline laid out in §§

801(a)(3)–(4). 91 § 801(d)(1) provides for the mechanism used by Congress in passing

the Joint Resolution in this case, allowing a new session of Congress to disapprove a rule




90
     Docket 104 at 18, ¶¶ 86, 87 (quoting 5 U.S.C. § 808).
91
     5 U.S.C. 801 provides as follows:

          (a)(1)(A) Before a rule can take effect, the Federal agency promulgating such rule
          shall submit to each House of the Congress and to the Comptroller General a
          report containing--
                  (i) a copy of the rule;
                  (ii) a concise general statement relating to the rule, including whether it is
                  a major rule; and
                  (iii) the proposed effective date of the rule.
          ...
          (3) A major rule relating to a report submitted under paragraph (1) shall take effect
          on the latest of--
              (A) the later of the date occurring 60 days after the date on which--
                  (i) the Congress receives the report submitted under paragraph (1); or
                  (ii) the rule is published in the Federal Register, if so published;
          ...
          (4) Except for a major rule, a rule shall take effect as otherwise provided by law
          after submission to Congress under paragraph (1).


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 25 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 25 of 27
passed at the end of the prior session of Congress. CBD contends that because §

801(d)(1) contemplates “any rule for which a report was submitted in accordance with

subsection (a)(1)(A),” then 801(d)(1) does not apply to the Refuges Rule, because

“regulations covered by Section 808 do not require a Congressional Report because

Section 801 only requires such a report ‘[b]efore a rule can take effect,’ and by operation

of Section 808, these regulations take effect irrespective of a Congressional Report.” 92

Therefore, argues CBD, the Refuges Rule was not “submitted in accordance with

subsection (a)(1)(A),” and therefore “the Refuges Rule was not eligible for disapproval

under Section 801(d)(1) in the new session of Congress.” 93

          However, CBD’s argument appears to impute more meaning to § 808 than its plain

language will allow. There is nothing in the language of § 808 to indicate that it is intended

to exempt rules related to fishing or hunting from Congressional review altogether. By its

own words the provision allows the agency to determine the date that the regulation “shall

take effect,” thus withdrawing it from the timeline established by §§ 801(a)(3)–(4). Rather

than having the kind of sweeping effect proposed by CBD, the language of the CRA

indicates that § 808 merely alters the effective date of those particular types of agency

rules.

          Furthermore, as Federal Defendants argue, “[§ 801(a)(1)(A)] says that an agency

‘shall submit’ a CRA report when it issues ‘a rule,’ and specifies that the report include




92
     Docket 104 at 17, ¶¶ 83, 85.
93
     Docket 104 at 18, ¶ 88.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 26 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 26 of 27
certain information about ‘the rule.’” 94 The Refuges Rule, despite falling within § 808, is

undoubtedly “a rule;” therefore, this Court sees no reason why it would not fall under §

801(a)(1)(A). In addition, § 801(d)(1) provides for review of rules “for which a report was

submitted in accordance with subsection (a)(1)(A) [during the specified time period].”

Here, there is no dispute that a report was submitted for the Refuges Rule, within the time

period specified in § 801(d)(1). Therefore, CBD’s fails to state a cognizable claim for

relief. 95

                                          CONCLUSION

         In light of the foregoing, the Motions to Dismiss at Dockets 107, 110, 113, and 116

are GRANTED.

         The Clerk of Court is directed to enter a final judgment accordingly.

         DATED this 9th day of May, 2018 at Anchorage, Alaska.

                                                           /s/ Sharon L. Gleason
                                                           UNITED STATES DISTRICT JUDGE




94
     Docket 108 at 37.
95
   In the section of the Amended Complaint that asserts a statutory claim pursuant to the CRA,
CBD also alleges a violation of the Constitution and the APA, 5 U.S.C. § 706. Docket 104 at 18,
¶ 90 (“To the extent Interior has relied upon the CRA, alone or in conjunction with the Joint
Resolution, to revoke, refuse to implement, or otherwise nullify the Refuges Rule, that decision is
ultra vires and beyond Interior’s authority. Such a decision is in violation of the APA and Interior’s
Constitutional obligation to ‘take Care’ that the laws it is charged with administering are ‘faithfully
executed.’ 5 U.S.C. § 706(2); U.S. Const., art. II, § 3.”). CBD’s unsupported citations to the
Constitution and APA appear to be an attempt to assert claims that depends entirely on a finding
that Federal Defendants’ conduct was indeed ultra vires, as alleged in the statutory claim.
Therefore, in light of CBD’s failure to state a statutory claim, these assertions regarding the
Constitution and the APA similarly fail to state a claim.


Case No. 3:17-cv-00091-SLG, CBD v. Zinke, et al.
Order Re Motions to Dismiss
Page 27 of 27
          Case 3:17-cv-00091-SLG Document 129 Filed 05/09/18 Page 27 of 27
